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      EXHIBIT C
Join in the Objection to the Proposed NFL Concussion Litigation Settle...         http://www.mololamken.com/objection-nfl-concussion-litigation.html
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         If you want to support the Objection, we attach a form below that can be used for submitting your Objection. It is
         important to follow the Court’s instructions, as set forth in the July 7, 2014 Order, included again below.


           July 7, 2014 Court Order re: Submitting an Objection

           Form – Supporting Our Objection

         All objections should be postmarked no later than October 14, 2014 and mailed to:


                                         Clerk of the District Court/NFL Concussion Settlement
                                      U.S. District Court for the Eastern District of Pennsylvania
                                                       United States Courthouse
                                                           601 Market Street
                                                      Philadelphia, PA 19106-1797




         NOTE:    In supporting our Objection, you will not automatically establish an attorney-client
         relationship with MoloLamken LLP. At this time you will have to enter into a separate written
         agreement with MoloLamken for the firm to be your lawyer. You can still support the Objection
         without the firm being your lawyer.



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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION                      No. 2:12-md-02323-AB
INJURY LITIGATION                               MDL No. 2323


Kevin Turner and Shawn Wooden,                  Civil Action No. 2:14-cv-00029-AB
on behalf of themselves and
others similarly situated,

          Plaintiffs,

               v.

National Football League and
NFL Properties, LLC,
successor-in-interest to
NFL Properties, Inc.,

          Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS




                    OBJECTION TO JUNE 25, 2014 CLASS SETTLEMENT

       The undersigned Settlement Class Member hereby objects to the Class Action Settlement

Agreement dated as of June 25, 2014 (the “Settlement”). For the substance of my objection, I

adopt the content of the Objection of Sean Morey, Alan Faneca, Ben Hamilton, Robert Royal,

Roderick “Rock” Cartwright, Jeff Rohrer, and Sean Considine to Class Settlement, which was

filed with the Court on October 6, 2014, Docket No. 6201.

       I am a Settlement Class Member, as that term is defined in the Settlement, because I am

[check the box that applies]:
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        A “Retired NFL Football Player” under the Settlement in that I retired before July 7,
2014, from playing for a past or present member club of one or more of the National Football

League, the American Football League, the World League of American Football, the NFL

Europe League, or the NFL Europa League, as follows [state team, league, and dates played]:

_____________________________________________________________________________

_____________________________________________________________________________ .

        A “Representative Claimaint” under the Settlement in that I am the authorized
representative of ____________________ [name of player], who is/was a Retired NFL Football

Player under the Settlement, because he retired before July 7, 2014, from playing for a past or

present member club of one or more of the National Football League, the American Football

League, the World League of American Football, the NFL Europe League, or the NFL Europa

League, as follows [state team, league, and dates played]: _______________________________

_____________________________________________________________________________ .

        A “Derivative Claimaint” under the Settlement in that I am a [circle one] spouse,
parent, dependent child, or otherwise eligible to sue independently under state law because of my

relationship to ____________________ [name of player], who is/was a Retired NFL Football

Player under the Settlement, because he retired before July 7, 2014, from playing for a past or

present member club of one or more of the National Football League, the American Football

League, the World League of American Football, the NFL Europe League, or the NFL Europa

League, as follows [state team, league, and dates played]:

______________________________________________________________________________

_____________________________________________________________________________ .


                                                2
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Date: _____________________, 2014

                               Signature:       _________________________________

                               Name (printed): ________________________________

                               Address:         _________________________________

                                                _________________________________

                                                _________________________________

                               Telephone:       _________________________________

                               My Date of Birth: ______________________________




                                            3
NFL Concussion Litigation: MoloLamken LLP                        http://www.mololamken.com/nfl-concussion-litigation.html
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NFL Concussion Litigation: MoloLamken LLP                                                  http://www.mololamken.com/nfl-concussion-litigation.html
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         On October 6, 2014, MoloLamken LLP filed an Objection to the proposed Settlement agreement on behalf of seven
         former NFL players because the Settlement is unfair, inadequate, and unreasonable.


         These seven players are collegiate All-Americans, team captains, Pro-Bowlers, and Super Bowl Champions who
         played on average eight years in the NFL. On their behalf we previously criticized the Settlement through earlier
         court filings accessible below. Among the challenges to the Settlement that we raise are:


           Players who suffered from CTE and died before July 7, 2014 can receive up to $4 million – but no compensation
           is paid for all current and future cases of CTE;

           Players who suffer a single traumatic brain injury or stroke outside of football have any compensation reduced
           by 75%;

           Time playing in NFL Europe does not qualify as an "eligible" reason for which compensation is paid, yet all NFL
           Europe veterans waive their rights to pursue a claim; and

           Players who do qualify for compensation must survive a complex claim submission, evaluation, and appeal
           process that could result in players being denied any compensation.


         The Court has set an October 14, 2014 deadline for any Objection or opt-out from the proposed settlement
         class. The details of how to object or opt out can be found in the Court’s July 7, 2014 Order or at the Class Action
         Administrator’s website, linked below.


         Former NFL players and their family members who decide to object are invited to review our Objection. If you
         support our Objection, we encourage you to let the Court know. We include below a form that can assist you in
         objecting, which you can access by clicking Join in the Objection.


         Note that objections must be postmarked no later than October 14, 2014.


           Objection to Proposed Class Settlement filed October 6, 2014

           Proposed Class Action Settlement Agreement as of June 25, 2014

           NFL Concussion Settlement Program Website

           July 7, 2014 Court Order re: Submitting an Objection

           Other Filings

           News Stories

           Join in the Objection

           Contact Us


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